Case 2:16-cv-03391-ODW-AFM Document 68 Filed 08/03/17 Page 1 of 2 Page ID #:3087




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                                 UNITED STATES DISTRICT COURT
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                             CENTRAL DISTRICT OF CALIFORNIA
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                                              )       LEAD CASE NO. 2:16-cv-03391
  7   GCIU-EMPLOYER RETIREMENT                )       ODW-AFM
      FUND                                    )
  8                                           )       CONSOLIDATED CASE NO. 2:16-cv-
                    Plaintiff,                )       03418 ODW-AFM
  9         v.                                )
                                              )       AMENDED JUDGMENT
 10   QUAD/GRAPHICS, INC.,                    )
                                              )
 11                 Defendant.                )
                                              )
 12                                           )
                                              )
 13                                           )
 14

 15         On May 17, 2016, GCIU-Employer Retirement Fund (“the Fund”) filed this
 16   action against Quad/Graphics, Inc. (“Quad”). (ECF No. 1.) On May 18, 2016, Quad
 17   filed a separate action against the Fund. (Compl., Quad Graphics, Inc. v. GCIU
 18   Employer Retirement Fund, Case No. 2:16-cv-3418-ODW (AFM) (C.D. Cal. May 18,
 19   2016), ECF No. 1.) The Court consolidated both actions, and designated this action as
 20   the lead case. (ECF No. 19.) On April 19, 2017, the Court entered an order affirming in
 21   part and vacating in part underlying the arbitration award. (ECF No. 40.) On May 1,
 22   2017, Quad dismissed portions of its challenge to the arbitration award. (ECF No. 41.)
 23         Based on the foregoing, it is hereby ORDERED, ADJUDGED, and DECREED
 24   as follows:
 25         (1) The Court vacates the Arbitrator’s decision that Quad’s Versailles facility
 26   withdrew from the Fund in 2011;
 27         (2) The Court dismisses as moot the Fund’s challenge to the Arbitrator’s
 28   decision that the Fund may assess only a 2011 complete withdrawal;
                                                  1
                                      AMENDED
                                          -1- JUDGMENT
Case 2:16-cv-03391-ODW-AFM Document 68 Filed 08/03/17 Page 2 of 2 Page ID #:3088




  1         (3) The Court affirms the Arbitrator’s decision that the Fund correctly applied
  2   the partial withdrawal credit before the 20-year payment cap;
  3         (4) The Court dismisses without prejudice Quad’s challenge to the Arbitrator’s
  4   decision that it was not entitled to an award of attorneys’ fees and costs under 29
  5   C.F.R. § 4221.10;
  6         (5) The Court affirms the Arbitrator’s decision not to delay issuance of the final
  7   arbitration award based on Quad’s “unclean hands”;
  8         (6) The Court enforces the Fund’s February 1, 2013 Assessment as to the
  9   Versailles partial withdrawal and the complete withdrawal and orders Quad to:
 10                (a) make withdrawal liability payments to the ERF Fund on the 2010
 11         Versailles partial withdrawal assessment in the monthly amount of $321,151.22,
 12         as specified in the February 1, 2013 Assessment; and
 13                (b) make withdrawal liability payments to the Fund on the 2011 complete
 14         withdrawal assessment in the monthly amount of $351,501.80, as specified in
 15         the February 1, 2013 Assessment; and
 16         (7) The Court denies the Fund’s Rule 59(e) request for prejudgment interest for
 17   the reasons stated in the Court’s July 31, 2017 order (ECF No. 66);
 18         (8) The Court awards to the Fund post judgment interest on twelve withdrawal
 19   liability payments missed during the pendency of this action (i.e., between June 2016
 20   and May 2017), which missed payments total $3,853,814.64. Interest shall be awarded
 21   on $3,853,814.64, at the annual rate of 1.06% pursuant to 28 U.S.C. § 1961(a),
 22   calculated from May 2, 2017 until paid. (ECF No. 66).
 23   IT IS SO ORDERED.
 24

 25   Dated: August 3, 2017            ____________________________________
 26                                    HON. OTIS D. WRIGHT, II
 27                                    UNITED STATES DISTRICT JUDGE
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                                     AMENDED
                                         -2- JUDGMENT
